      Case 4:18-cv-04229 Document 162 Filed on 07/01/21 in TXSD Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ILA LaFRENTZ, JIM LaFRENTZ,                   §
KATHERINE PORTERFIELD, and                    §
WILLIAM LaFRENTZ, Individually                §
and as Representative of the Estate           §
of JAMES B. LaFRENTZ                          §
                                              §
vs.                                           §       CIVIL ACTION NO. 4:18-cv-04229
                                              §            JURY DEMANDED
                                              §
3M COMPANY, ET AL                             §


    DEFENDANT 3M COMPANY’S MOTION AND INCORPORATED MEMORANDUM
           BRIEF TO PERMIT ATTORNEY-CONDUCTED VOIR DIRE AND
       TO SUBMIT THE ATTACHED QUESTIONNAIRE TO THE JURY VENIRE

       3M Company moves the Court under Section 16.A of Hon. Judge Andrew S. Hanen’s

Civil Procedures1 to permit counsel to conduct voir dire after the Court’s initial examination of

the venire. 3M will also address this issue in the Pretrial Order. And, to make that voir dire most

effective, 3M moves the Court to submit the attached questionnaire (Exhibit 1) to the venire

before voir dire.

                               LR 7.1(D) Certificate of Conferral

       Under LR 7.1(D) and this Court’s Civil Procedures § 7.C., the undersigned counsel

certifies that she conferred in good faith with Plaintiffs’ counsel Bradley Peek, regarding the

relief sought in this motion and is advised that this motion is opposed.

                    Statement of the Issues to be Ruled upon by the Court

       1. Under Section 16.A of this Court’s rules, the Court will generally allow counsel to
          conduct voir dire if the issue is raised by motion. Moreover, social pressures often
          stifle the Court’s and the parties’ goal to empanel an impartial jury through voir dire;

1
       https://www.txs.uscourts.gov/sites/txs/files/Civil%20Procedures%20%287-2020%29.pdf

                                                  1
     Case 4:18-cv-04229 Document 162 Filed on 07/01/21 in TXSD Page 2 of 6




           a jury questionnaire assists in reaching that goal. Shouldn’t the Court (1) submit the
           attached questionnaire to the venire and (2) permit counsel to conduct voir dire after
           the Court’s initial examination of the venire, to assist in empaneling an impartial
           jury?

                                    Summary of the Argument

       Fear of public speaking, pressure to conform, and the desire to “do right” often stifle a

court’s ability to empanel an impartial jury through voir dire. Because social science

demonstrates that a jury questionnaire neutralizes these pressures and decreases the risk of

reversal due to juror misconduct, the Court should permit 3M to administer the attached jury

questionnaire to the venire before voir dire. The Court should also permit counsel to conduct voir

dire after the Court’s initial examination of the venire.

                                             Argument

       The goal of voir dire is to impanel an impartial jury.2 But three pressures often stifle this

goal: (1) fear of public speaking, (2) pressure to conform, and (3) desire to “do right.”

       Public speaking is foreign to many jurors. Lack of experience in speaking in front of a

group may cause self-consciousness and prevent jurors from revealing bias in a public setting.

Likewise, pressures for social conformity cause people to answer consistent with the group’s

dominant opinion—or what they think will be consistent with that opinion—particularly where

they must answer publicly.3 Social science demonstrates that these pressures influence how

people respond to questions during voir dire.




2
       See, e.g., United States v. Beckner, 69 F.3d 1290, 1291 (5th Cir. 1995).
3
       E.g., David Suggs & Bruce D. Sales, Juror Self-Disclosure in the Voir Dire: a Social
Science Analysis, 56 IND. L.J. 245, 259-61 (1980-1981) (copy attached as Exhibit 2).
                                                  2
        Case 4:18-cv-04229 Document 162 Filed on 07/01/21 in TXSD Page 3 of 6




         Additionally, a desire to “do right” may dissuade potential jurors from revealing bias.

People often hesitate to admit bias in public situations that expect unbiased thinking.4 Jurors are

no exception: Since they “are aware that they are supposed to be impartial, they are unlikely to

reveal any bias, even if they recognize it in themselves.”5 Bound by common work, religious,

and social experiences, jurors experience intense social pressures to “do right” by, or help,

plaintiffs from their local area. Such jurors may thus hesitate to reveal a potentially disqualifying

bias.

         A jury questionnaire neutralizes these risks by allowing venire members to privately

reveal biasing information.6 Additionally, jury questionnaires insulate venire members from

other panel members’ strongly-held views.7 These benefits culminate in a more focused and

selective voir dire and a decreased chance of reversal for juror misconduct.8



4
         Roy Baumeister, A Self-Presentational View of Social Phenomena, 91 PSYCHOL. BULL. 3-
26 (1982) (copy attached as Exhibit 3) (In a social arena where others are listening and watching,
people are motivated to please the audience and construct their “public self” to establish an
image for others as “impression management.” This may be unconscious, and does not
necessarily reflect the individual’s true views accurately.).
5
         Beech v. Leaf River Forest Prods., Inc., 691 So. 2d 446, 450 (Miss. 1997); Suggs &
Sales, 56 IND. L.J. at 246 (copy attached as Exhibit 2) (“Since all of us like to think we can be
fair, it is the rare juror indeed who will admit to being unable to set aside an already formed
opinion.”).
6
         E.g., Richard Seltzer, Mark Venuti & Grace M. Lopes, Juror Honesty During Voir Dire,
19 J. CRIM. JUST. 451-462 (1992) (copy attached as Exhibit 4) (in comparison of individual
interviews versus voir dire in open court, 25% of the jury panel disclosed in interviews that they
or a family member had been a victim of crime, and 30% said they knew a law enforcement
officer; but these same individuals did not disclose these facts during voir dire even when they
had been asked to do so); see also, e.g., Mize & Hannaford-Agor, 47 JUDGES’ J. at 5 (copy
attached as Exhibit 5); Linchiat Chang & Jon A. Krosnick, Comparing Oral Interviewing With
Self-Administered Computerized Questionnaires: An Experiment, 74 PUB. OPINION Q. 154-167
(Spring 2010) (copy attached as Exhibit 6) (finding increased validity, less tendency to settle for
a satisfactory (rather than a correct) solution as quickly as possible, and less tendency to answer
questions out of a bias toward social desirability, when questions are asked in a self-administered
computerized survey as opposed to verbally).
7
         Comment, Voir Dire Examination of Jurors Concerning Insurance Company Interests,
15 DEPAUL L. REV. 148 (1965) (recommending that questions about insurance be included on
                                                 3
     Case 4:18-cv-04229 Document 162 Filed on 07/01/21 in TXSD Page 4 of 6




                                            Conclusion

       The Court should (1) permit 3M to administer the attached jury questionnaire (Exhibit 1)

to the venire before voir dire, and (2) permit counsel to conduct voir dire after the Court’s initial

examination of the venire. The questionnaire will increase juror candor without sacrificing

judicial resources, prejudicing any party, or delaying the administration of justice. The

questionnaire is brief, and venire members can complete it soon after they arrive at the

courthouse, while the Court and parties address other preliminary issues. Counsel and the Court

alone will review the completed questionnaires and can do so at a break. The questionnaire will

accomplish only positive results. 3M requests that the Court permit its use. 3M also requests that

the Court permit counsel to conduct additional voir dire after the Court has questioned the venire.

                                              Respectfully Submitted,


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questionnaire, and answered by jurors prior to trial) (copy attached as Exhibit 7); Comment, The
Voir Dire Insurance Dilemma, 28 MISS. LJ. 65 (1956) (advocating use of a detailed
questionnaire for similar purposes) (copy attached as Exhibit 8).
8
        See Report of the Committee on Juries of the Judicial Council of the Second Circuit, at p.
91 (August 1984) (copy attached as Exhibit 9); Ballesteros, Don’t Mess with Texas Voir Dire, 39
HOUS. L. REV. 201, 240 (2002) (noting that jury questionnaires alleviate many problems often
raised on appeal involving voir dire, because many cases appealed on jury selection grounds deal
with purported juror misconduct due to failure to disclose information; that information, if
requested by questionnaire, can be elicited more effectively) (copy attached as Exhibit 10). With
a jury questionnaire, the parties begin voir dire with more complete information about the venire
members. District Judge David Hittner, Federal Voir Dire & Jury Selection, TRIAL Magazine
(March 1989) at 85, 87 (endorsing use of such procedures and questionnaires) (copy attached as
Exhibit 11).

                                                 4
Case 4:18-cv-04229 Document 162 Filed on 07/01/21 in TXSD Page 5 of 6




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                               /s/ L. Michael Brooks, Jr.

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    Case 4:18-cv-04229 Document 162 Filed on 07/01/21 in TXSD Page 6 of 6




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                               CERTIFICATE OF SERVICE


      I hereby certify that on this 1st day of July, 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, and I hereby certify that I have thereby

electronically served this document upon all counsel of record who are registered with the

Court's CM/ECF system.



                                                     /s/ Michele E. Taylor
                                                     Michele E. Taylor




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